Case 16-34616-JKS              Doc 40      Filed 11/09/17 Entered 11/09/17 12:03:42      Desc Main
                                           Document     Page 1 of 3


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                          Case No.:                16-34616
                                                                             ____________________

                                                          Chapter:                     7
                                                                             ____________________


     In Re:                                               Adv. No.:          ____________________

     CHRISTINE CRANDON                                    Hearing Date:        December 5, 2017
                                                                             ____________________
     VINCENT CRANDON,
                                                          Judge:                John K. Sherwood
                                                                             ____________________
                                      Debtors



                                     CERTIFICATION OF SERVICE

            Scott A. Sears, Esq.
1. I, ____________________________ :

           ‫ ܆‬represent ______________________________
                           Creditor Travis Roemmele   in this matter.

           ‫ ܆‬am the secretary/paralegal for ___________________________, who represents
           ______________________________ in this matter.

           ‫ ܆‬am the ______________________ in this case and am representing myself.



2.                  November 9, 2017
           On _____________________________, I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
            Notice of Motion for Attorney's Fees.



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      November 9, 2017
           _______________________                       /s/ Scott A. Sears, Esq.
                                                         __________________________________
                                                         Signature
Case 16-34616-JKS      Doc 40     Filed 11/09/17 Entered 11/09/17 12:03:42                Desc Main
                                  Document     Page 2 of 3



 Name and Address of Party Served         Relationship of                     Mode of Service
                                         Party to the Case
David E. Sklar                     Represents Vincent J.         ‫ ܆‬Hand-delivered
Scura Wigfield Heyer & Stevens LLP Crandon and Christine
                                                                 ‫ ܆‬Regular mail
1599 Hamburg Turnpike              Crandon
Wayne, NJ 07470                                                  ‫ ܆‬Certified mail/RR
                                                                 ‫ ܆‬Other _____________________
                                                                    (As authorized by the Court or by rule. Cite
                                                                 the rule if applicable.)

Linda S. Fossi                         Represents US Bank      ‫ ܆‬Hand-delivered
Gary C. Zeitz, LLC                     Cust PC6, Sterling Natl
                                                                 ‫ ܆‬Regular mail
1101 Laurel Oak Road, Suite 170
Voorhees, NJ 08043                                               ‫ ܆‬Certified mail/RR
                                                                 ‫ ܆‬Other _____________________
                                                                    (As authorized by the Court or by rule. Cite
                                                                 the rule if applicable.)

John R. Morton, Jr.                    Represents Daimler        ‫ ܆‬Hand-delivered
Law Offices of John R. Morton, Jr.     Trust
                                                                 ‫ ܆‬Regular mail
110 Marter Ave                         c/o BK Servicing, LLC
Suite 301                                                        ‫ ܆‬Certified mail/RR
Moorestown, NJ 08057                                             ‫ ܆‬Other _____________________
                                                                    (As authorized by the Court or by rule. Cite
                                                                 the rule if applicable.)

Eric R. Perkins                        Represents Eric R.        ‫ ܆‬Hand-delivered
McElroy, Deutsch, Mulvaney &           Perkins
                                                                 ‫ ܆‬Regular mail
Carpenter
                                                                 ‫ ܆‬Certified mail/RR
40 West Ridgewood Avenue
Ridgewood, NJ 07450                                              ‫ ܆‬Other _____________________
                                                                    (As authorized by the Court or by rule. Cite
                                                                 the rule if applicable.)

William M.E. Powers                    Represents CitiBank,      ‫ ܆‬Hand-delivered
Powers Kirn, LLC                       N.A., not in its
                                                                 ‫ ܆‬Regular mail
P.O. Box 848                           individual capacity but
                                                                 ‫ ܆‬Certified mail/RR
Moorestown, NJ 08057                   solely as Owner Trustee
                                       for PMT NPL Financing     ‫ ܆‬Other _____________________
                                       15-00001                     (As authorized by the Court or by rule. Cite
                                                                 the rule if applicable.)




                                             2
Case 16-34616-JKS     Doc 40   Filed 11/09/17 Entered 11/09/17 12:03:42                Desc Main
                               Document     Page 3 of 3



 Name and Address of Party Served      Relationship of                     Mode of Service
                                      Party to the Case
William M.E. Powers, III            Represents PennyMac       ‫ ܆‬Hand-delivered
Powers Kirn, LLC                    Loan Services, LLC
                                                              ‫ ܆‬Regular mail
P.O. Box 848                        servicer for PMT NPL
                                    Financing 15-00001 and    ‫ ܆‬Certified mail/RR
Moorestown, NJ 08057
                                    CitiBank, N.A., not in
                                    its individual capacity   ‫ ܆‬Other _____________________
                                                                 (As authorized by the Court or by rule. Cite
                                    but solely as Owner       the rule if applicable.)
                                    Trustee for PMT NPL
                                                              ‫ ܆‬Hand-delivered
                                                              ‫ ܆‬Regular mail
                                                              ‫ ܆‬Certified mail/RR
                                                              ‫ ܆‬Other _____________________
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

                                                              ‫ ܆‬Hand-delivered
                                                              ‫ ܆‬Regular mail
                                                              ‫ ܆‬Certified mail/RR
                                                              ‫ ܆‬Other _____________________
                                                                    (As authorized by the Court or by rule.
                                                                 Cite the rule if applicable.)

                                                              ‫ ܆‬Hand-delivered
                                                              ‫ ܆‬Regular mail
                                                              ‫ ܆‬Certified mail/RR
                                                              ‫ ܆‬Other _____________________
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

                                                              ‫ ܆‬Hand-delivered
                                                              ‫ ܆‬Regular mail
                                                              ‫ ܆‬Certified mail/RR
                                                              ‫ ܆‬Other _____________________
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)




                                                                                                       rev.8/1/16


                                           3
